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                                   STATEMENT OF FACTS

        Your affiant, Brandon Shelley, is a Special Agent with the Federal Bureau of Investigation
assigned to the FBI’s Cincinatti Field Office. In my duties as a Special Agent, I am responsible for
investigating violations of Title 18 of the United States Code and other violations of federal law. I
have conducted and participated in investigations that the used, among other techniques: physical
and electronic surveillance; witness and subject interviews; the executon of search warrants; and,
the analysis of evidentiary items. Currently, I am tasked with investigating criminal activity in and
around the Capitol grounds on January 6, 2021. As a Special Agent, I am authorized by law or by
a Government agency to engage in or supervise the prevention, detection, investigation, or
prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in the United States Capitol to certify the vote count of the Electoral College of the 2020
Presidential Election, which had taken place on November 3, 2020. The joint session began at
approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and Senate
adjourned to separate chambers to resolve a particular objection. Vice President Mike Pence was
present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
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President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       As a result of the siege of the Capitol, the Mayor of the District of Columbia issued a
Declaration of a Second Public Emergency – Citywide Curfew which imposed a curfew
commencing at 6:00 p.m. EST on January 6, 2021 and ending at 6:00 a.m. EST on Thursday,
January 7, 2021. This adversely impacted interstate commerce1. For instance, Safeway
Supermarket in Washington, D.C. closed at 4:00 p.m. EST as a result of the curfew, which
according to Safeway records had a negative impact on sales2.

        During national news coverage of the events at the Capitol on January 6th, video footage
which appeared to be captured on mobile devices of persons present on the scene depicted evidence
of violations of local and federal law, including scores of individuals at the U.S. Capitol building
without authority to be there, with many documented assaulting and impeding officers protecting
the Capitol.

        From those videos and pictures, as well as body worn cameras (BWCs) worn by many of
the Metropolitan Police Department officers who responded to the Capitol to assist the U.S.
Capitol Police, an individual was identified on the West Front of the Capitol engaged in numerous
criminal acts as detailed below. The individual was distincitively dressed in a dark jacket, wearing
a black baseball/softball helmet with facemask, and carrying a light blue sling bag and an American
flag attached to an axe handle. Figure 1 is an image captured of him on that day.




                                             Figure 1

       Through investigation, some of which is detailed below, that individual has been identified
as an Ohio resident named Frederick BREITFELDER.

1
    https://mayor.dc.gov/release/mayor-bowser-orders-citywide-curfew-beginning-6pm-today
2
    https://www.washingtoninformer.com/safeway-closes-d-c-locations-amid-protests/
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        After the events of January 6, 2021, and in response to social media requests by the FBI to
identify individuals involved in criminal activity on that day, an individual (W-1) contacted the
FBI and informed them that he/she recognized the individual in the FBI social media post below
in Figure 2, as Frederick BREITFELDER. W-1 has known BREITFELDER for decades and had
last seen him in late 2019. W-1 had stayed in communication with BREITFELDER after 2019 and
received a text from BREITFELDER in December of 2020 where BREITFELDER stated that he
was going to be driving to “DC” on January 5th. On January 7, 2021 BRIETFELDER texted W-1
to confirm that he was driving back, but did not provide details of his trip.




   Figure 2 – FBI Social Media Inquiry for an individual the individual listed as “Photo 516.”

       Another individual (W-2) was also interviewed by FBI agents and also identified
BREITFELDER in the photographs. W-2 had known BRIETFELDER for years and knew him
through work, having last worked with him in approximately 2016. Having reviewed the
photographs that the FBI posted on social media, W-2 identified them as BREITFELDER, stating
that while he/she hoped BREITFELDER was not involved with the events of January 6th, the
resemblance to BREITFELDER in the FBI photos was uncanny.
       .
       In addition to the identification of BREITFELDER by the above individuals, your affiant
has also reviewed records obtained through a search warrant which identified that a cellular
telephone believed to be used by was present on the West front of the Capitol Building in the
afternoon on January 6, 2021.

                             Breitfelder’s Criminal Acts at the U.S. Capitol

        The following description is based on my investigation including review of video footage
taken by individuals in the crowd, BWC, U.S. Capitol CCTV, and my knowledge of the events of
January 6 through this and other investigations. By the afternoon of January 6, 2021, thousands of
protestors had gathered on the west side of the Capitol building. Initially the protestors gathered
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outside of the restricted area, which was cordoned off by fencing and bike rack barricades linked
together, with officers guarding the line. However, as the crowd grew and became more hostile,
portions of the line were breached and rioters streamed through. In videos taken by other
individuals in the crowd that day BREITFELDER can be seen pulling on a section of bike rack
barricade which was placed there to restrict access to the Capitol Building and grounds.
BREITFELDER can be seen in the yellow square in Figure 3, and can be seen dragging a bike
rack barricade to open a gap in the line in Figure 4.




 Figure 3 – Still image from video showing BREITFELDER (yellow box) pulling at barricades
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   Figure 4 – Still image from video showing BREITFELDER dragging a bike rack barricade

        Once BREITFELDER and the others pushed past the outer barriers of the restricted area,
they then came to a second line of United States Capitol Police (USCP) and Metropolitan Police
Department (MPD) officers formed along the West Plaza to the Capitol. The officers were posted
there behind a line of metal bike rack fences at a landing above a small flight of stairs which
spanned the Lower West Plaza. This area was well inside of the restricted perimeter which had
been set up around the entire Capitol for that day. During this time rioters confronted officers at
that line and made repeated efforts to remove or push back the bike racks or otherwise get past the
police line, assaulting and impeding officers. After the rioters made numerous efforts to breach the
police line, some of which are detailed below, the line broke at about 2:30 p.m., and officers were
forced to fall back as rioters surged further forward toward the Capitol building.

      During this time officers were attempting to keep the rioters from progressing past the
West Plaza, numerous rioters were pushing against the fencing and trying to pull it down.
BREITFELDER was at the front of that crowd. While BREITFELDER was there, multiple efforts
were made by rioters to pull the fencing way from the officers. At about 2:02 p.m.,
BREITFELDER was captured on an officer’s BWC at the front of the crowd of rioters with the
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axe handle raised in the air and gripped with both of his hands. Figure 5, with BRIETFELDER
circled in yellow.




                            Figure 5 - Still image of MPD BWC video

        At about 2:04 p.m., BWC captured rioters attacking the police line and pulling and pushing
the officers and their equipment in an attempt to break the police line. Officers were pulled down
the steps by the rioters. As those were assisted by other officers and were retreating back up the
steps, BREITFELDER was captured in BWC swinging the axe handle down at an MPD Officer’s
hand two separate times as the officer attempted to deploy pepper spray to dispurse rioters, striking
the metal bike rack barricade the officer was standing immediately behind both times. Figures 6
and 7, with BREITFELDER cicled in yellow.
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                Figure 6 - Still image of MPD BWC video




                Figure 7 - Still image of MPD BWC video
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        At approximately 2:12 pm rioters once again surged up the stairs in the same area and
attacked officers, pulling some of them down the steps. Other officers then advanced down the
steps to protect and retrieve the others, at which time rioters, including BREITFELDER, attacked
the officers. As the officers were at the bottom of the steps BREITFELDER came forward from
the crowd and pushed an MPD officer. Figure 8, with BREITFELDER circled in yellow.




                            Figure 8 - Still image of MPD BWC video

         Officers were able to assist the the other officers back up the stairs to the police line, and
once again re-established the police line at the top of the steps. However, the rioters continued to
confront officers and BREITFELDER remained near the front of rioters. After repeated efforts by
rioters to attack the officers, the police line was finally and decisively breached at approximately
2:30 p.m. The rioters overtook the entire West Plaza as officers retreated back. During this time
BREITFELDER was captured in a video taken by another rioter. In that video he is at the front of
the crowd of rioters as they pushed against officers, Figure 9, with BREITFELDER circled in
yellow.
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                                 Figure 9 – still image from video

        Further, on January 8, 2025, your affiant met in-person with BREITFELDER at his home
and BREITFELDER agreed to be interviewed. During that interview BREITFELDER admitted
that he was at the Capitol building on January 6, 2021, and he identified himself in a number of
still images from that day, including the two images displayed above in Figure 2.

        In addition to the admissions made by BREITFELDER during the interview, the
identification of him by W-1 and W-2, and the presence of his phone at the Capitol on January 6,
2021, your affiant also believes that BREITFELDER is the same individual involved in the videos
described above both because of the similarities in his physical appearance to images from that
day, and because of the distinct similarity in what he was wearing and carrying throughout January
6: wearing a dark jacket, wearing and carrying a black baseball/softball helmet with facemask, and
carrying a light blue sling bag and an American flag attached to an axe handle.

        Based on the foregoing, your affiant submits there is probable cause to believe that
BREITFELDER committed a felony violation of Title 18, U.S.C. § 111(a)(1), which makes it
unlawful to forcibly assault, resist, oppose, intimidate, or interfere with any person or persons
while engaged in or on account of the performance of official duties. For purposes of Section
111(a)(1), the person or persons in this instance were Metropolitan Police Department (MPD) and
United States Capitol Police Officers responding to the siege of the United States Capitol. Through
my investigation, I know that MPD officers at the Capitol on January 6th were present specifically
to assist federal law enforcement in their efforts to protect the Capitol and the people inside, and
were assisting federal officers in the performance of their official duties as defined in 18 U.S.C. §
1114.
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        Your affiant further submits there is probable cause to believe that BRETFELDER violated
Title 18 U.S.C. § 231(a)(3), which makes it unlawful to commit or attempt to commit any act to
obstruct, impede, or interfere with any fireman or law enforcement officer lawfully engaged in the
lawful performance of his official duties incident to and during the commission of a civil disorder
which in any way or degree obstructs, delays, or adversely affects commerce or the movement of
any article or commodity in commerce or the conduct or performance of any federally protected
function. For purposes of Section 231 of Title 18, a federally protected function means any
function, operation, or action carried out, under the laws of the United States, by any department,
agency, or instrumentality of the United States or by an officer or employee thereof. This includes
the Joint Session of Congress where the Senate and House count Electoral College votes.

        Your affiant also submits that there is probable cause to believe that BREITFELDER
violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter or remain
in any restricted building or grounds without lawful authority to do so; and (2) knowingly, and
with intent to impede or disrupt the orderly conduct of Government business or official functions,
engage in disorderly or disruptive conduct in, or within such proximity to, any restricted building
or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of
Government business or official functions; and 18 U.S.C. § 1752(a)(4), which makes it a crime to
knowingly engage in any act of physical violence against any person or property in any restricted
building or grounds; or attempts or conspires to do so. For purposes of Section 1752 of Title 18,
a “restricted building” includes a posted, cordoned off, or otherwise restricted area of a building
or grounds where the President or other person protected by the Secret Service, including the Vice
President, is or will be temporarily visiting; or any building or grounds so restricted in conjunction
with an event designated as a special event of national significance.

        Finally, your affiant submits there is also probable cause to believe that BREITFELDER
violated Title 40 U.S.C. § 5104(e)(2)(D) and (F) which makes it a crime to willfully and
knowingly; (D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive
conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent to impede,
disrupt, or disturb the orderly conduct of a session of Congress or either House of Congress, or the
orderly conduct in that building of a hearing before, or any deliberations of, a committee of
Congress or either House of Congress; and, (F) engage in an act of physical violence in the
Grounds or any of the Capitol Buildings.

                                               _________________________________
                                               BRANDON SHELLEY
                                               SPECIAL AGENT
                                               FEDERAL BUREAU OF INVESTIGATION

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 14
the 15th day of January 2025.

                                               ___________________________________
                                               G. MICHAEL HARVEY
                                               U.S. MAGISTRATE JUDGE
